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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
CYTEC INDUSTRIES INC.,                                       :
                                                             :
                                    Plaintiff,               :
                          v.                                 :
                                                                 No. 14 Civ. 1561 (PKC)
                                                             :
ALLNEX (LUXEMBOURG) & CY                                     :
S.C.A.,                                                      :
                                                             :
                                    Defendant.               :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x




                            CYTEC INDUSTRIES INC.’S
                    MEMORANDUM OF LAW IN SUPPORT OF ITS
              MOTION FOR ATTORNEYS’ FEES AND LITIGATION EXPENSES




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               Pursuant to this Court’s Order dated July 6, 2017 (ECF No. 143), Cytec Industries

Inc. (“Cytec”) respectfully submits this Memorandum of Law in Support of its Motion for

Attorneys’ Fees and Litigation Expenses.

                               PRELIMINARY STATEMENT

               On March 7, 2014, Cytec filed a complaint against Allnex (Luxembourg) & Cy

S.C.A. (“Allnex”) concerning a dispute (now settled) arising out of the purchase price adjustment

mechanism in the parties’ October 8, 2012 Stock and Asset Purchase Agreement (“SAPA”). On

March 26, 2014, Allnex sent Cytec a letter demanding reimbursement for obligations relating to

environmental contamination on a Kalamazoo, Michigan property Allnex acquired under the

SAPA. After the parties were unable to resolve their dispute on this subject, Cytec amended its

complaint on June 16, 2014 to seek a declaratory judgment that Allnex assumed the disputed

environmental liabilities under the SAPA. The amended complaint expressly asked for an award

of “reasonable attorneys’ fees.” (ECF No. 14 at 35.)

               Allnex declined to settle the parties’ environmental dispute on at least three

separate occasions (including two separate mediations) and chose to fully litigate this case.

Allnex moved to dismiss Cytec’s environmental claim, which this Court denied; the parties then

conducted discovery, producing nearly 60,000 documents, many of which were located outside

the United States, took nine fact depositions, exchanged more than 100 pages of expert reports,

and took two expert depositions; and, at the conclusion of discovery, the parties cross moved for

summary judgment, submitting more than 150 pages of briefing. The parties also undertook

nearly full trial preparations, including preparing exhibit lists, designating and counter-

designating depositions, drafting fact and expert witness declarations, negotiating objections, and

briefing motions in limine.
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               After more than three years of hard-fought litigation, this Court granted Cytec’s

motion for summary judgment, holding that the SAPA “unambiguously provides that Allnex

assumed all liabilities for remediation of the Kalamazoo site.” (Memorandum and Order dated

June 19, 2017 (“June 19 Order”) at 2, ECF No. 138.)

               The SAPA also unambiguously provides that Cytec is entitled to attorneys’ fees

and litigation expenses incurred in the prosecution of this declaratory judgment action. Under

Section 6 of the SAPA, Allnex must indemnify Cytec for “all reasonable attorneys’ fees and

other reasonable out-of-pocket disbursements” incurred in respect of any “claims, demands,

actions, suits, [or] proceedings” brought “by any Person” relating to “any Assumed Liabilities.”

(SAPA §§ 6.2, 6.3(c).) And this Court has expressly held that the “remediation of the historical

environmental liabilities at the Kalamazoo site falls under the definition of ‘Assumed

Liabilities’” under the SAPA. (June 19 Order at 13.) “[T]he extent of a plaintiff’s success is a

crucial factor in determining the proper amount of an award of attorney’s fees,” Hensley v.

Eckerhart, 461 U.S. 424, 440 (1983), and here Cytec was completely successful on summary

judgment.

               The factors that courts in this District consider in assessing attorneys’ fees support

the reasonableness of Cytec’s request for $8,053,401.38 in attorneys’ fees and $366,715.67 in

litigation expenses. First, Cytec only seeks reimbursement for fees and expenses that the client

Cytec has actually paid. “[T]he fact that . . . a sophisticated business client[] has paid” the fees

charged by counsel “is prima facie evidence of the reasonableness of the amount” of those fees.

Diplomatic Man, Inc. v. Nike, Inc., 2009 WL 935674, at *6 (S.D.N.Y. Apr. 7, 2009) (Lynch, J.).

               Second, the rates charged are comparable to prevailing market rates in this

District for complex commercial litigation, and are reasonable given the complexity of the legal




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and factual issues in dispute, the amount in controversy, and the sophistication and experience of

counsel.

                Third, the hours expended are likewise reasonable: a core team of four Sullivan

& Cromwell LLP (“S&C”) attorneys handled the lion’s share of the work over three years of

federal litigation, from initial pleadings to trial preparation, including full document, deposition,

and expert discovery and summary judgment briefing. And the number of hours billed by

Cytec’s counsel are comparable to the number of the hours billed by Allnex’s counsel.

                Fourth, Cytec has reduced the fees and expenses it is seeking from those actually

incurred in this litigation by more than $825,000 based on generous estimates of work performed

unrelated to the environmental liabilities claim. For each relevant time period, Cytec estimated

the percentage of work performed on disputes that have settled to reduce this fee request to

approximate the cost of litigating the environmental dispute as a stand-alone matter.

                Finally, with respect to expenses, courts in this District have routinely held that

expenses of the type billed here—i.e., expert services, deposition costs, and other administrative

costs—are reimbursable. And Cytec’s requested litigation expenses are nearly 35 percent lower

than those Allnex incurred. In sum, Cytec respectfully submits that it is entitled to the full

amount of its request for attorneys’ fees and litigation expenses.1

                                        BACKGROUND

                This case arose out of the purchase by Allnex of Cytec’s coating resins business.

The case began as a dispute about post-closing purchase price adjustments under the SAPA




1
 For the Court’s convenience, a form of judgment is attached as Exhibit F to the Declaration of
Thomas C. White, dated July 20, 2017 (“White Decl.”), submitted herewith.



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(Complaint dated March 7, 2014, ECF No. 2), and quickly expanded to include environmental

liabilities.

         A.       The Parties’ Environmental Dispute

                  On March 26, 2014, Allnex sent Cytec a letter (“March 26 Letter”) disavowing

responsibility for certain environmental liabilities located at the Kalamazoo, Michigan site

Allnex acquired under the SAPA. (ECF No. 53–2.) Cytec attempted to resolve this dispute as

part of a broader settlement of the parties’ purchase-price dispute. On April 14, 2014, the parties

reached an agreement in principle to settle their disputes; however, during the course of

finalizing settlement papers, the parties failed to reach a final agreement. (See White Decl. ¶ 6.)

As a result, on June 16, 2014, Cytec filed an Amended Complaint seeking a declaratory

judgment from this Court that “all environmental liabilities at the Kalamazoo, Michigan site are

Assumed Liabilities under the [SAPA].” (Amended Complaint dated June 16, 2014 (“Am.

Compl.”) at 34, ECF No. 14.) The Amended Complaint also added claims relating to workers’

compensation and tax indemnification, but the environmental dispute accounted for the vast

majority of legal work incurred in preparing the Amended Complaint. (Am. Compl. ¶¶ 135–47;

Declaration of Joseph E. Neuhaus dated July 3, 2017 (“Neuhaus Decl.”) ¶ 10.b., ECF No. 140.)

                  Both parties turned to the law firms that had handled the corporate transaction,

who were familiar with the complex transaction documents and knew the potential witnesses, to

represent them in the resulting litigation. (White Decl. ¶ 4.) On July 8, 2014, the parties

attended an initial pretrial conference where this Court encouraged the parties to settle their

disputes.      (White Decl. ¶ 8.)   The parties agreed to submit their disputes, including the

environmental dispute, to mediation. At the mediation on September 3, 2014, the parties again

failed to reach a final agreement. (Id. ¶ 9.)




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               Allnex moved to dismiss the Amended Complaint on October 1, 2014, arguing,

with respect to the environmental dispute, that Cytec’s claim was not ripe and that the disputed

liabilities were not Assumed Liabilities under the SAPA. (ECF No. 25 at 19–22.) On May 15,

2015, the Court denied Allnex’s motion to dismiss the environmental claim. (ECF No. 36 at 22–

25.) In particular, the Court rejected Allnex’s contention that the March 26 Letter “did not make

demands” and merely served as a “reservation of rights,” finding that the March 26 Letter

“s[ought] reimbursement” and made other “demand[s]” concerning the parties’ respective

responsibility over environmental contamination that created “a substantial controversy, between

parties having adverse legal interests, of sufficient immediacy and reality to warrant the issuance

of a declaratory judgment.” (Id. at 24 (internal quotation marks omitted).)

       B.      Document Discovery

               After the Court’s ruling, the parties proceeded to discovery.          The parties

exchanged document requests in August 2015 and, after months of meet-and-confers and

exchanging drafts, the parties agreed to a Protective Order, a Stipulation Regarding Production

of Electronically Stored Information, a Stipulation Regarding Discovery Protocols, and

document search terms. (White Decl. ¶ 11; see ECF No. 80.)

               During fact discovery, Cytec’s counsel reviewed more than 65,000 documents,

including documents in German and Dutch and documents produced by third parties. (Neuhaus

Decl. ¶ 10.c., Ex. B-7; White Decl. ¶¶ 13–14.) Many documents relating to environmental




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liabilities were highly technical, such as Phase II environmental site assessment reports.2 Cytec’s

counsel worked with an expert on environmental liabilities, John Barkett, to assist in analyzing

these documents. (White Decl. ¶ 15.) In March 2016, the parties reached an agreement to settle

their purchase price and tax indemnification disputes (the “First Settlement”). (Neuhaus Decl.

¶ 8.)

        C.     Depositions and Expert Discovery

               After the First Settlement, the parties took depositions focused almost entirely on

the environmental dispute.     (Neuhaus Decl. ¶ 10.d.)     In April 2016, Cytec took four fact

depositions and defended fact five depositions. (White Decl. ¶¶ 20, 22.) One of the key

witnesses—Ronald Ayles, a German national who negotiated the SAPA for Allnex—was

deposed in London at his counsel’s request. (Id. ¶¶ 20–21.) In April 2016, the parties exchanged

requests for admission and interrogatories. (Id. ¶ 23.)

               The parties also undertook expert discovery of industry custom and practice

concerning the transfer of environmental liabilities.      (Id. ¶¶ 24–27.)    S&C worked with

Mr. Barkett to prepare his 87-page report, which offered his opinions on the SAPA and the

record evidence—including the technical details of the contamination—based on his review of

the record. (Id. ¶ 24.) S&C defended Mr. Barkett’s deposition on July 12, 2016. (Id. ¶ 25.)

S&C also analyzed the report submitted by Allnex’s expert, Jeffrey Gracer, and took his

2
  There was motion practice during the discovery process arising out of Allnex’s assertions of
privilege. (Memorandum and Order dated June 23, 2016 (“June 23 Order”) at 6–7, ECF No. 76.)
Cytec attempted to resolve this issue through the meet-and-confer process, but Allnex ultimately
refused to produce these documents. (White Decl. ¶ 17.) On April 20, 2016, Cytec filed a
motion to compel (ECF No. 59), and the Court directed Allnex to produce 10 “exemplars” for in
camera review. (ECF No. 58.) The Court held oral argument on May 6, 2016, and, on June 23,
2016, rejected or significantly narrowed Allnex’s privilege assertions for seven of the 10
exemplars. (June 23 Order at 6–7.) Pursuant to the Court’s Order, Allnex reversed or narrowed
its privilege claims for 78 documents. (White Decl. ¶ 18.)



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deposition on July 18, 2016. (Id. ¶ 27.)

               In June 2016, the parties again agreed to submit their disputes, including the

environmental dispute, to mediation. (Id. ¶ 30.) On July 12, 2016, the parties reached an

agreement to settle their workers’ compensation dispute. (Neuhaus Decl. ¶ 8.) The parties also

attempted to settle their environmental dispute but, for the third time, failed to do so. (White

Decl. ¶ 30.)

       D.      Summary Judgment and Trial Preparation

               From July 2016 through February 2017, the parties devoted substantial time and

resources to preparing for trial. Cytec prepared a 310-document exhibit list, designated and

counter-designated more than 13,000 lines of deposition testimony, developed its witness list,

and coordinated with those witnesses to prepare five declarations (in lieu of direct testimony at

trial). (Id. ¶¶ 32–33, 36; ECF Nos. 85–89.) Cytec also reviewed Allnex’s 118 exhibits, more

than 10,000 lines of deposition designations and counter-designations, and four witness

declarations. (White Decl. ¶¶ 33, 37; ECF Nos. 90–93.) The parties exchanged objections on

August 12, August 26, and October 4, 2016; met and conferred extensively to attempt to resolve

those objections; revised their witness declarations in response to the objections; and coordinated

to prepare Stipulations of Fact and a Proposed Joint Pretrial Order. (White Decl. ¶¶ 33, 35, 37–

38, 40.) The parties also submitted 111 pages of briefing for motions in limine (White Decl.

¶ 41), in which each party moved to exclude the other’s expert testimony and Allnex moved to

exclude one of Cytec’s trial exhibits. (ECF Nos. 95, 106, 109.)

               Pursuant to an agreed-upon pretrial schedule, the parties cross-moved for

summary judgment on Cytec’s environmental claim in November 2016, generating more than

150 pages of briefing accompanied by more than 160 exhibits. (White Decl. ¶¶ 31, 39; ECF

Nos. 99, 101, 103, 119–21, 124–25, 130, 132–33.)          On June 19, 2017, the Court granted


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summary judgment for Cytec on its environmental claim, holding that the SAPA

“unambiguously provides that Allnex assumed all liabilities for remediation of the Kalamazoo

site.” (June 19 Order at 2.)

I.     CYTEC IS ENTITLED TO ATTORNEYS’ FEES AND LITIGATION EXPENSES
       UNDER THE SAPA.

               Section 6.3 of the SAPA provides that Allnex must indemnify Cytec for “any

Losses”—which the SAPA specifically defines to include “expenses of enforcement of

obligations” and “all reasonable attorneys’ fees and other reasonable out-of-pocket

disbursements” in respect of any “claims, demands, actions, suits, [or] proceedings”—brought

“by any Person” relating to “any Assumed Liabilities.” (Neuhaus Decl. Ex. A, SAPA §§ 6.2,

6.3(c).) In its May 15, 2015 decision denying Allnex’s motion to dismiss the environmental

claim, the Court expressly rejected Allnex’s argument that the March 26 Letter “did not make

any demands,” finding that it “s[ought] reimbursement” and made other “demand[s]” concerning

the parties’ respective responsibility over environmental contamination. (ECF No. 36 at 24

(internal quotation marks omitted).)

               In briefing the cross-motions for summary judgment, the parties agreed that the

SAPA entitled the prevailing party to attorneys’ fees here. Cytec noted in its moving papers that:

               Under Section 6.3(c) of the SAPA, Cytec is entitled to recovery of
               any “Losses”—defined in Section 6.2(a) to include “all reasonable
               attorneys’ fees and other reasonable out of pocket
               disbursements”—incurred “in respect of claims, demands or suits
               (by any Person) to the extent directly or indirectly relating to or
               arising out of . . . any Assumed Liabilities.” This Court has
               already held that Allnex’s March 26, 2014 disavowal of
               responsibility for the Assumed Liabilities at Kalamazoo
               constituted a “demand,” which is why the Court rejected Allnex’s
               motion to dismiss on the ground that this claim was not ripe. (ECF
               No. 36 at 23–24.) Accordingly, Cytec is entitled to its fees
               because this declaratory judgment action was a reasonable step in
               its defense against Allnex’s demand. See, e.g., Pfizer, Inc. v.
               Stryker Corp., 348 F. Supp. 2d 131, 145–46 (S.D.N.Y. 2004)


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               (granting attorneys’ fees for “prosecuting the declaratory judgment
               action”).

(ECF No. 103 at 50 n.21.) Allnex agreed that the prevailing party would be entitled to fees here,

but argued that it would be entitled to its fees because the disputed liabilities were not “Assumed

Liabilities” but “Excluded Liabilities”:

               Under the SAPA, Cytec may claim attorneys’ fees only “to the
               extent” that this action relates to or arises out of any Assumed
               Liabilities.   (Ex. 1, SAPA § 6.3(c), DX-34 at ALLNEX-
               00080797.) But the liabilities for which Cytec disclaims
               responsibility are not Assumed Liabilities; they are Excluded
               Liabilities. For that reason, Allnex, not Cytec, is entitled to an
               award of attorneys’ fees. (Id. § 6.2(a)(iii), DX-34 at ALLNEX-
               00080796.)

(ECF No. 124 at 25 n.29.) The Court’s June 19, 2017 decision confirmed that the disputed

historical environmental liabilities were, in fact, “Assumed Liabilities” under the SAPA. (June

19 Order at 13.)

               Apart from this agreement that the prevailing party would be entitled to its fees,

the SAPA is clear that Section 6.3 allows for reimbursement of attorneys’ fees and other costs of

litigation brought by one party against the other:

           x   The definition of “Losses” that are indemnified refers specifically to “expenses of
               enforcement of obligations” “by any Person,” which necessarily refers to claims
               between the parties (Neuhaus Decl. Ex. A, SAPA §§ 6.2(a), 6.3);

           x   The SAPA contains separate procedures for indemnification of “Third-Party
               Claims” and “Other Claims” (id. §§ 6.4(a), (c)); and

           x   The SAPA provides for indemnification of claims arising out of breaches of
               representations, warranties, and covenants between the parties, which, again, are
               necessarily claims between the parties (id. § 6.3(a), (c)).

These unambiguous contractual provisions demonstrate that Cytec is entitled to its attorneys’

fees and expenses incurred in prosecuting this declaratory judgment action as a matter of law.

See, e.g., Pfizer, Inc. v. Stryker Corp., 348 F. Supp. 2d 131, 145–46 (S.D.N.Y. 2004) (granting



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attorneys’ fees for prosecuting declaratory judgment action between parties to sale of business,

noting that, inter alia, “[i]t is difficult to imagine a third-party action as a result of the

indemnifying party’s misrepresentation”) (internal quotation marks omitted); Promuto v. Waste

Mgmt., Inc., 44 F. Supp. 2d 628, 650–52 (S.D.N.Y. 1999) (granting attorneys’ fees in contract

dispute because contract included both a general indemnification provision and third-party

indemnification provision, which “evinces a clear intent to distinguish between inter-party claims

and third-party claims”); Abax Lotus Ltd. v. China Mobile Media Tech. Inc., 149 A.D.3d 535,

535 (1st Dep’t 2017) (indemnification provision was not “limited to third-party claims” because

provision “includes a distinct section referencing third-party claims, [which] clearly implies that

the parties intended the provision to apply to certain intra-party claims”).

II.    CYTEC’S REQUEST FOR FEES AND EXPENSES IS REASONABLE.

               The factors that courts in this District consider when weighing applications for

attorneys’ fees and expenses confirms that Cytec’s request is reasonable.

               “In determining whether attorney fees are reasonable, the court must adopt a

‘presumptively reasonable fee,’ with an hourly rate that reflects ‘what a reasonable, paying client

would be willing to pay.’” Harris v. Fairweather, 2012 WL 5199250, at *5 (S.D.N.Y. Oct. 19,

2012) (Castel, J.) (quoting Arbor Hill Concerned Citizens Neighborhood Ass’n v. Cnty. of

Albany, 522 F.3d 182, 183–84 (2d Cir. 2008)). “In considering the reasonableness of a fee

application, a court weighs the time and labor required, the novelty and difficulty of the

questions, the level of skills required, the amount in controversy and the experience, reputation

and ability of counsel.” Bacolitsas v. 86th & 3rd Owners, LLC, 2013 WL 10620139, at *1

(S.D.N.Y. Apr. 1, 2013) (Castel, J.) (citing Arbor Hill, 522 F.3d at 186 & n.3, 190). In addition,

and as particularly relevant here, the court should consider results obtained.         Hensley v.




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Eckerhart, 461 U.S. 424, 440 (1983) (“[T]he extent of a plaintiff’s success is a crucial factor in

determining the proper amount of an award of attorney’s fees.”).

       A.      The Fees and Expenses Cytec Actually Paid Are Presumptively Reasonable.

               Cytec has paid in the ordinary course virtually all of the fees and expenses that it

seeks in this application. 3    “[T]he amount actually paid to counsel by paying clients is

compelling evidence of a reasonable market rate.” Reiter v. Metro. Transp. Auth., 2004 WL

2072369, at *5 (S.D.N.Y. Sept. 10, 2004) (collecting cases); see Arbor Hill, 522 F.3d at 190

(“The reasonable hourly rate is the rate a paying client would be willing to pay.”); Themis

Capital v. Democratic Republic of Congo, 2014 WL 4379100, at *7 (S.D.N.Y. Sept. 4, 2014)

(“[T]he fact that Themis, the plaintiff, has paid Dechert’s bills in full at these rates supplies a

form of market confirmation as to their reasonableness.”). Indeed, “when a sophisticated client

pays attorneys’ fees that it does not know it will necessarily recover, the rate paid is

presumptively reasonable.” Wells Fargo Bank, NA v. Konover, 2014 WL 3908596, at *6 (D.

Conn. Aug. 8, 2014), aff’d, 630 F. App’x 46 (2d Cir. 2015); see Diplomatic Man, 2009 WL

935674, at *6 (“[T]he fact that Nike, a highly sophisticated business client, has paid these bills,

presumably after careful review by its general counsel or other senior business executives, is

prima facie evidence of the reasonableness of the amount as a whole (beyond just the

reasonableness of the hourly rates charged), since Nike could not have assumed that it would be

reimbursed in full, or even in part.”).


3
  The two most recent invoices (totaling $40,711.09) remain outstanding, but they are expected
to be paid in due course. (Neuhaus Decl. ¶ 14.) See Diplomatic Man, Inc. v. Nike, Inc., 2009
WL 935674, at *6 n.6 (S.D.N.Y. Apr. 7, 2009) (Lynch, J.) (granting motion for fees and
expenses where client “had paid all bills through October 2008 and there is no reason to believe
that the lack of payment of bills beyond that date is attributable to anything other than processing
time”).



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                 Here, Cytec—a multinational corporation and sophisticated consumer of legal

services—received invoices detailing $9,619,116.18 of fees and expenses incurred and has paid

$9,578,405.09 to date. (Neuhaus Decl. ¶¶ 9, 14, Exs. B-1, C; White Decl. Ex. B (S&C bank

statements).)    Its request for $8,420,117.05 relating to the environmental dispute is thus

presumptively reasonable as a matter of law.

        B.       Cytec’s Counsel’s Billing Rates Are Reasonable and Consistent with
                 Prevailing Rates in New York for Complex Commercial Litigation.

                 “The best evidence of a reasonable fee rate is the amount actually charged by

counsel.” Anderson v. YARP Rest., Inc., 1997 WL 47785, at *2 (S.D.N.Y. Feb. 6, 1997)

(collecting cases). The following table shows the rates Cytec’s counsel actually charged for their

work on this case from 2014 to 2017 for each of the attorneys who billed more than 10 hours to

this matter:4

                Attorney                 Title          Billing Rate(s)    Years Admitted
                                                                            to Bar in 2017
    Joseph Neuhaus                Partner               $1,390 – $1,700   31
                                  Associate / Special
    Thomas White                                        $850 – $1,150     9
                                  Counsel / Partner
    Joshua Levy                   Associate             $700 – $995       5
    James Shih                    Associate             $815 – $950       1
    Lauren Mendolera              Associate             $800 – $850       6
    Matthew Belgiovine            Associate             $665 – $700       1

(See Neuhaus Decl. Ex. C.) In addition, paralegals, e-discovery personnel, and other legal

support staff working under attorneys’ direction were billed at hourly rates ranging from $135 to

$425 per hour:


4
 In addition, an experienced German-speaking Swiss lawyer, Vanessa Deglise, assisted on the
matter and was billed at rates of $495 – $520 per hour. A recent law school graduate (billed at
$520 per hour) and summer associates (billed at $220 – $280 per hour) also worked on the
matter. This chart does not include attorneys whose hours billed were de minimis and attorneys
who worked on the underlying transaction and assisted the litigation team on factual issues.



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                                   Position                   Billing Rate(s)
                    Assistant to Managing Clerk             $135 – $240
                    Distributions / Printing                $145 – $170
                    E-Discovery and Litigation Support      $315 – $425
                    Legal Assistants                        $160 – $410
                    Litigation Analysts5                    $385 – $395
                    Reference Librarian                     $365 – $425

(See Neuhaus Decl. Ex. C.)

               The rates charged by Cytec’s counsel are reasonable, given the factual and legal

complexity of this case. Factually, Allnex’s claim that it was only responsible for environmental

contamination resulting from the manufacture of coating resins (ECF No. 53–2) required Cytec’s

counsel to understand the nature of the contamination at multiple facilities transferred under the

SAPA, which required analysis of voluminous and highly technical documentation with the

assistance of Mr. Barkett. (See White Decl. ¶¶ 13, 15, 43.) Cytec’s counsel also needed to

understand the details of selling a $1 billion business that spanned four continents. (Id. ¶ 43.)

               Cytec’s counsel’s legal work was likewise complex and varied. Cytec’s counsel

closely analyzed the 124-page SAPA, an agreement accompanied by 667 pages of disclosure

schedules and 549 pages of ancillary agreements. (Id. ¶ 44.) Additionally, Cytec had acquired

all of the facilities it was selling (together with their environmental liabilities) in two prior

transactions in 1993 and 2005 (Smith Decl. ¶¶ 5, 12–13, ECF No. 86), requiring legal analysis of

two other lengthy commercial agreements. (White Decl. ¶ 44.) The dispute at issue raised

questions of contract interpretation in light of various federal, state, and foreign environmental

laws governing the transferred facilities located across multiple U.S. states and foreign countries.

(Id. ¶ 44.)


5
  Litigation Analysts are law school graduates, generally admitted to the bar, engaged primarily
in work on document discovery.



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               The bulk of the legal work was performed by just four attorneys, whose expertise

in litigating complex disputes arising out of merger-and-acquisition agreements confirms the

reasonableness of Cytec’s counsel’s billing rates:

           x   Joseph Neuhaus, a partner at S&C for 25 years, led Cytec’s representation since
               the inception of the disputes between the parties, including advising the client on
               high-level strategic issues, taking or defending five depositions, and reviewing
               and approving all court filings. (Id. ¶ 46.a.) Mr. Neuhaus has been widely
               recognized as a leading practitioner of international commercial litigation,
               including as one of America’s and the World’s Leading Lawyers for Business by
               Chambers & Partners regularly over the last decade. (Id. Ex. A-1.) Mr. Neuhaus
               graduated from Columbia Law School in 1982, and served as a law clerk to U.S.
               Supreme Court Justice Lewis Powell. (Id.) Mr. Neuhaus billed 513.75 hours in
               his representation of Cytec in this case.6 (Id. ¶ 46.a.)

           x   Thomas White, now a partner at S&C, performed the functions of a junior partner
               throughout this litigation. (Id. ¶ 46.b.) Mr. White oversaw all motion practice
               and trial preparation, and took or defended five depositions. (Id.) Mr. White,
               together with Mr. Neuhaus, also advised the client on high-level strategic issues.
               (Id.) With nearly a decade of experience representing global companies and
               financial institutions in complex commercial litigation, Mr. White has been
               recognized as a Rising Star by New York Super Lawyers continually over the last
               five years. (Id. Ex. A-2.) Mr. White graduated from Yale Law School in 2007,
               and served as a law clerk to Judge Loretta Preska of the U.S. District Court in the
               Southern District of New York. (Id.) Mr. White billed 2,100.50 hours in this
               matter. (Id. ¶ 46.b.)

           x   Joshua Levy, a sixth-year associate at S&C, was the senior associate for most of
               the litigation. (Id. ¶ 46.c.) Mr. Levy managed the discovery process, drafted
               briefs, negotiated evidentiary objections with opposing counsel, and took one
               deposition. (Id.) Mr. Levy’s practice has focused on commercial litigation,
               employment disputes, and government investigations. (Id. Ex. A-3.) Mr. Levy
               graduated from New York University School of Law in 2011, and served as a law
               clerk to Judge I. Leo Glasser of the U.S. District Court in the Eastern District of
               New York. (Id.) Mr. Levy billed 2,790.75 hours in this matter. (Id. ¶ 46.c.)

           x   James Shih, a fourth-year associate at S&C, was the primary junior and mid-level
               associate for much of the litigation. (Id. ¶ 46.d.) Mr. Shih drafted briefs,
               prepared for and served as second chair in depositions, and supported discovery

6
 These hours, and those billed by the other attorneys, exclude work prior to the advent of the
environmental dispute, and are subject to the percentage deductions set forth in the Neuhaus
Declaration. (Neuhaus Decl. ¶ 10; see infra at Section II.C.1.)



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               and trial preparation. (Id.) Mr. Shih graduated from Yale Law School in 2013,
               and served as a law clerk to Judge Lorna Schofield of the U.S. District Court in
               the Southern District of New York. (Id. Ex. A-4.) Mr. Shih billed 1,780.50 hours
               in this matter. (Id. ¶ 46.d.)

               Moreover, Allnex was well aware that the prevailing party in this Action would

recover attorneys’ fees (ECF No. 124 at 25 n.29), yet it declined multiple opportunities to

mitigate its fee risk by settlement (see supra at 4–7). In publicly available bankruptcy court

filings, S&C partners have billed at rates ranging from $1,190 to $1,285 per hour, associates

have billed at $440 to $925 per hour (depending on class year), and support staff have billed at

$290 to $385 per hour. (See White Decl. Ex. C.) And in this District, “partner billing rates in

excess of $1,000 an hour, are by now not uncommon in the context of complex commercial

litigation.” Themis Capital, 2014 WL 4379100, at *7; (White Decl. Ex. D (Karen Sloan, $1,000

Per Hour Isn’t Rare Anymore, N.Y.L.J. (Jan. 13, 2014) (as of October 2013, more than a quarter

of large New York firms “charge[d] $1,000 per hour or more for contracts and commercial

work”), http://www.newyorklawjournal.com/id=1202637587261/NLJ-Billing-Survey-1000-Per-

Hour-Isnt-Rare-Anymore)); see also McDonald ex rel. Prendergast v. Pension Plan of NYSA-

ILA Pension Tr. Fund, 450 F.3d 91, 96–97 (2d Cir. 2006) (“A district court may also use its

knowledge of the relevant market when determining the reasonable hourly rate.”). In fact,

Allnex’s counsel billed at rates up to $1,190 per hour in this matter. (White Decl. ¶ 51.b., Ex. E.)

       C.      Cytec’s Counsel Billed a Reasonable Number of Hours in Prosecuting the
               Environmental Claims in This Case.

               “[I]n determining contractual attorneys’ fees, ‘there is a strong presumption

that . . . the hourly rate times hours expended[] represents the “reasonable” fee.’” VFS Fin., Inc.

v. Pioneer Aviation, LLC, 2009 WL 2447751, at *4 & n.7 (S.D.N.Y. Aug. 11, 2009) (quoting

Grant v. Martinez, 973 F.2d 96, 101 (2d Cir. 1992)) (collecting cases). Here, as noted, where

every invoice was reviewed and paid by Cytec’s legal department (Neuhaus Decl. ¶ 14; White


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Decl. Ex. B (S&C bank statements)), the amount of work done is presumptively reasonable.

Themis Capital, 2014 WL 4379100, at *7; Wells Fargo, 2014 WL 3908596, at *6; Diplomatic

Man, 2009 WL 935674, at *6.

               1.     The Amount of Hours Expended Was Reasonable Given the Complexity
                      and Procedural History of This Case and the Amount in Controversy.

               The number of hours billed is also reasonable in light of the lengthy procedural

history of this case, complex legal and factual issues it raised, and amount in controversy. Cytec

was represented here by counsel who handled the underlying transaction for it (as was Allnex),

which provided efficiencies in understanding the complexities of the transaction and the

environmental issues. (White Decl. ¶ 4.) Nonetheless, this litigation has spanned more than

three years, spanned two continents, and progressed from initial complaint to full trial

preparation. (See supra at 4–8.)

               Further, although this litigation only directly concerns the disputed environmental

liabilities at the Kalamazoo site, the Court’s ruling bears on all $35.1 million of known

environmental liabilities and necessarily unquantified unknown environmental liabilities at all of

the sites Allnex acquired under the SAPA. The SAPA provisions on “Assumed Liabilities” that

govern the liabilities at Kalamazoo are virtually identical to those that govern the scope of

liabilities at the sites that Allnex acquired around the world. (See SAPA at Annex I-5, -9 to -10,

-15 to -16.) Allnex took the position in briefing to this Court that its interpretation of these

provisions, under which it maintained that it was not responsible for contamination that did not

result from the operation of the coating resins business, applied around the world. (ECF No. 99

at 27–28 (Allnex intended to seek “an indemnity from Cytec for non-coatings liabilities” among

“$21 million in liabilities” at a facility in Belgium.).) This Court’s ruling that the liabilities

Allnex assumed under the SAPA “are not narrowly limited to liabilities that occurred exclusively



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from the manufacture and production of coating resins” (June 19 Order at 14) thus protects Cytec

from indemnification for tens of millions of dollars of known environmental liabilities, plus

unknown liabilities.

               Accordingly, this is a case in which the Court’s ruling regarding the definition of

Assumed Liabilities under the SAPA “transcend[s]” the “test case” presented, and will have “a

direct and immediate effect” on all environmental liabilities, known and unknown, transferred

under the SAPA. See Krumme v. Westpoint Stevens Inc., 79 F. Supp. 2d 297, 304–05, 307–08

(S.D.N.Y. 1999) (granting “fee award in excess of the amount involved in the litigation”), rev’d

on other grounds, 238 F.3d 133 (2d Cir. 2000). See also Antidote Int’l Films, Inc. v. Bloomsbury

Pub., PLC, 496 F. Supp. 2d 362, 365–66 (S.D.N.Y. 2007) (awarding fees of “three times the

jury’s verdict” where “the instant action is determinative of the meaning of the Option

Agreement in certain respects,” which “makes it economically reasonable . . . for plaintiff to

incur a fee in excess of the ‘amount involved’ in the litigation”); Nat’l Union Fire Ins. Co. v.

Hartel, 782 F. Supp. 22, 42 (S.D.N.Y. 1992) (attorneys’ fees of “more than 50% of the amount

recovered” were “reasonable” because “the benefits of the litigation reached far beyond the

amount sought in the immediate suit”) (quoting F.H. Krear & Co. v. Nineteen Named Trs., 810

F.2d 1250, 1264 (2d Cir. 1987)).

               2.      Cytec Has Reduced Its Fee Request To Reflect Work on Claims that Were
                       Previously Settled.

               Cytec has incurred $8,859,292.50 in attorneys’ fees in prosecuting this action, but

has reduced its fee request by over $800,000, to $8,053,401.38, to exclude fees related to claims

the parties settled. Cytec implemented these reductions on a conservative, percentage basis, in

accordance with Supreme Court and Second Circuit precedent.




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               Specifically, and as further described in the Declaration of Joseph E. Neuhaus,

dated July 3, 2017, the vast majority of the work incurred in the preparation of the Amended

Complaint related to the environmental dispute, and Cytec reduced its fee request for this work

by 20% to exclude work related to the parties’ workers’ compensation and tax indemnification

disputes. (Neuhaus Decl. ¶ 10.b., Ex. B-2.) Cytec similarly reduced its fee request for the period

from after it filed the Amended Complaint to March 2016, a period that was largely devoted to

document discovery, by 20%; this is a conservative estimate because the work in this period

related almost entirely to document review and production, and fully 92% of the documents

produced related to the environmental dispute. (Id. ¶ 10.c., Exs. B-3 & B-7.) From March 2016

to July 2016, during which the parties took fact and expert depositions, Cytec reduced its fee

request by 10% to exclude work related to the only other remaining dispute, the workers’

compensation matter; again, this is a conservative estimate, because less than one percent of

deposition pages and exhibits related to workers’ compensation. (Id. ¶ 10.d., Ex. B-4.) Finally,

from July 2016 to the Court’s summary judgment decisions (a period in which the only

remaining claims were the environmental claims), Cytec excluded all work related solely to its

application for fees and expenses. (Id. ¶ 10.e., Ex. B-5.)

               This kind of percentage deduction finds ample support in case law. The Supreme

Court has explained that “the district court’s consideration of a fee petition ‘should not result in a

second major litigation.’” Webb v. Bd. of Educ., 471 U.S. 234, 244 n.20 (1985) (quoting

Hensley, 461 U.S. at 437). Accordingly, “the district court is not obligated to undertake a line-

by-line review of [the prevailing party’s] extensive fees application,” Marsion S. Mishkin Law

Office v. Lopalo, 767 F.3d 144, 150 (2d Cir. 2014), but, rather, may “use a percentage deduction

as a practical means” of analysis, McDonald, 450 F.3d at 96 (internal quotation marks omitted).




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See Fox v. Vice, 563 U.S. 826, 838 (2011) (trial courts “may use estimates in calculating and

allocating an attorney’s time”); N.Y. State Ass’n for Retarded Children, Inc. v. Carey, 711 F.2d

1136, 1146 (2d Cir. 1983) (affirming “percentage reductions” to attorneys’ fees request because

“courts have recognized that it is unrealistic to expect a trial judge to evaluate and rule on every

entry in an application”) (collecting cases).7 (See Neuhaus Decl. ¶¶ 9–10 & Exs. B-1 to B-5.)

               3.      Cytec’s Fees Are Reasonable Given the Resources Marshaled by Allnex.

               Under Second Circuit precedent, “the district court should, in determining what a

reasonable, paying client would be willing to pay, consider . . . the resources required to

prosecute the case effectively []taking account of the resources being marshaled on the other

side.” Arbor Hill, 522 F.3d at 184; see Serricchio v. Wachovia Secs., LLC, 706 F. Supp. 2d 237,

254 (D. Conn. 2010) (awarding attorneys’ fees where “[c]ounsel for both parties marshaled

substantial resources to contest issues at every stage”), aff’d, 658 F.3d 169 (2d Cir. 2011).

                In response to a subpoena, Allnex’s counsel disclosed this week that Allnex

incurred $5,015,087.04 in attorneys’ fees through February 2017 in defending this action.

(White Decl. App’x A.) It incurred these fees through a mix of hourly rates and, after January

2016, flat fees. (Id. ¶¶ 51.a.-c., Ex. E.) Allnex’s counsel refused to disclose its hourly rates, the

hours worked, or any detail as to the work counsel did after December 2015. (Id. ¶¶ 51.c.) For

the period for which counsel disclosed its rates and the hours worked, the amount of work done

was comparable to the amount of work done by Cytec’s counsel: from April 2014 to December

7
  See also Fox, 563 U.S. at 838 (“[T]rial courts need not, and indeed should not, become green-
eyeshade accountants. The essential goal in shifting fees (to either party) is to do rough justice,
not to achieve auditing perfection.”); Research Commc’ns, Ltd. v. Meredith Corp., 2008 WL
4183440, at *6 (D. Conn. Sept. 10, 2008) (“When presented with an extensively documented
claim such as this, the court need not address in writing each and every entry; attorneys’ fees
requests should not become mini-trials.”) (citing Lunday v. City of Albany, 42 F.3d 131, 134 (2d
Cir. 1994)).



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2015, Allnex’s counsel billed 2,098.10 hours and Cytec’s counsel billed 2,183.75 hours. (Id.

Ex. E; Neuhaus Decl. Ex. B.) The comparable number of hours—fewer than 100 hours apart

over a 21-month period—strongly supports the reasonableness of Cytec’s fee request.8

              It appears that the hourly rates of Allnex’s counsel and its support staff were

generally somewhat below those charged by S&C. For the period in which Allnex disclosed its

counsel’s rates, they ranged from $212 to $1,190 as compared to Sullivan & Cromwell’s rates of

$140 to $1,700. (White Decl. Ex. E; Neuhaus Decl. Ex. B.) The hourly rates of counsel for the

prevailing party are not, however, limited to those of opposing counsel. Cf. Chambless v.

Masters, Mates & Pilots Pension Plan, 885 F.2d 1053, 1059 (2d Cir. 1989) (“[T]he prevailing

market rate test does not mandate equal fees for opposing counsel.”). Rather, as discussed above

(see supra Section II.B.), Cytec’s counsel rates are within the range of those charged in this

District in the context of complex commercial litigation. Themis Capital, 2014 WL 4379100, at

*7. Indeed, as of October 2013—almost four years ago—more than a quarter of large New York

firms charged more than $1,000 per hour for commercial work. Sloan, supra.

       D.     Cytec’s Request for Litigation Expenses Is Reasonable.

              Under the SAPA and Second Circuit precedent, Cytec is entitled to “reasonable

out-of-pocket expenses incurred by attorneys and ordinarily charged to their clients.” LeBlanc–

Sternberg v. Fletcher, 143 F.3d 748, 763 (2d Cir. 1998) (quoting U.S. Football League v. Nat’l

Football League, 887 F.2d 408, 416 (2d Cir. 1989)). (See Neuhaus Decl. Ex. A, SAPA § 6.2

(defining “Losses” to include “reasonable out-of-pocket disbursements”).

8
  In any case, the refusal to disclose the total hours worked or records of the work done bars
Allnex from disputing the reasonableness of the number of hours billed by Cytec’s counsel. Cf.
Mugavero v. Arms Acres, Inc., 2009 WL 1904548, at *6 (S.D.N.Y. July 1, 2009)
(excluding documents for opposing party’s “failure to produce these documents in a timely
manner”).



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               Nearly half of Cytec’s requested expenses consist of $178,694.32 for fees paid to

Shook, Hardy & Bacon L.L.P. for expert services provided by Mr. Barkett. (See Neuhaus Decl.

¶ 11.b., Ex. B-6; White Decl. ¶ 45.) “[C]ourts in this District routinely reimburse prevailing

parties for the costs of expert witnesses and consultants” in contractual cases. Themis Capital,

2014 WL 4379100, at *9; see Weiwei Gao v. Sidhu, No. 2013 WL 2896995, at *6 (S.D.N.Y.

June 13, 2013) (granting the full amount of expert fees requested because the expense was

“reasonable and necessary,” and because the “Fee Sharing Agreement provides for recovery of

‘other costs incurred’”); Austrian Airlines Oesterreichische Luftverkehrs AG v. UT Fin. Corp.,

2008 WL 4833025, at *9 (S.D.N.Y. Nov. 3, 2008) (awarding full expert fees requested where the

contract “clearly—and undisputedly—provide[d] for reasonable attorneys’ fees ‘and other

costs’”). Here, as described above, Mr. Barkett assisted Cytec with analysis of environmental

reports, prepared a 172-paragraph expert report providing his opinion on the SAPA and record

evidence, prepared for and sat for his deposition, and prepared a 90-paragraph declaration as his

“direct testimony at trial.” (ECF No. 88 at 1 & Ex. 2; White Decl. ¶¶ 24, 45; see supra at 6.)

               The remaining expenses consist of those regularly awarded by courts in this

Circuit. See King Vision Pay–Per–View Corp. v. Tardes Calenas Moscoro, Inc., 2004 WL

473306, at *5 (S.D.N.Y. March 12, 2004) (awarding photocopying expenses “consistent with

what an outside photocopy service would have charged”) (collecting cases); Sulkowska v. City of

New York, 170 F. Supp. 2d 359, 370 (S.D.N.Y. 2001) (compensable “expenses charged to clients

may include express mail, long distance telephone, local travel, and messenger service”):

           x   $32,326.48 for expenses incurred in taking and defending depositions, principally
               court reporting fees, videography fees, and transcript costs (Neuhaus Decl.
               ¶ 11.c.);

           x   $24,819.16 for expenses incurred in hiring temporary document reviewers
               (Neuhaus Decl. ¶ 11.d.); and



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           x   $72,959.03 for expenses such as photocopies, teleconference hosting, and
               graphics. (Neuhaus Decl. ¶ 11.e.)

               Cytec has reduced its request by more than $25,000 to exclude expenses related to

claims the parties settled. (See id. ¶ 11.) Specifically, although Cytec incurred $391,944.26 in

expenses in prosecuting this action, it is seeking to recover $366,715.67 that is attributable to

litigation of the environmental claims. (Id. ¶ 11, Ex. B-6.) As with Cytec’s calculation of

attorneys’ fees, “these estimates are uniformly conservative.” (Id. ¶¶ 11–12.) And Cytec’s

requested litigation expenses are nearly 35 percent (or more than $190,000) lower than Allnex’s

expenses of $556,846.11. (White Decl. App’x A.)

                                        CONCLUSION

               After more than three years of litigation, Cytec has completely prevailed on the

environmental claim at issue on this application, and did so based on the plain language of the

contract that was available to the parties from the outset. That contract unambiguously also

requires that Allnex reimburse the reasonable costs of litigation that Cytec incurred in obtaining

that result. Both parties spent millions of dollars on this case, and Cytec has paid its counsel in

the ordinary course the full amount of fees sought on this application. The Court should award

Cytec $8,053,401.38 in attorneys’ fees and $366,715.67 in litigation expenses.




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Dated: New York, New York                  Respectfully submitted,
       July 20, 2017
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